          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      BRYSON CITY DIVISION

                       CRIMINAL CASE NO. 2:10cr14


UNITED STATES OF AMERICA                   )
                                           )
                                           )
                        vs.                )     ORDER
                                           )
                                           )
(3) JEFFREY LOWELL FOUTS.                  )
                                           )

      THIS MATTER is before the Court on the Government’s motion for

dismissal of the forfeiture of 200 Sitton Creek Road. [Doc. 149].

      For the reasons stated in the Government’s motion, and for good

cause shown,

      IT IS THEREFORE, ORDERED that the Government’s motion [Doc.

149] is ALLOWED, and the forfeiture of the real property described in the

Notice of Forfeiture and Finding of Probable Cause of the Bill of Indictment

as “200 Sitton Creek Road, Bryson City, Swain County, North Carolina,

being real property, together with the residences, and all appurtenances,

improvements, and attachments thereon” is hereby DISMISSED.

      IT IS FURTHER ORDERED that the Consent Order and Judgment of

Forfeiture [Doc. 74], which orders the forfeiture of the real property




      Case 2:10-cr-00014-MR    Document 151    Filed 06/16/11   Page 1 of 2
described therein as “200 Sitton Creek Road, Bryson City, Swain County,

North Carolina, as described in a deed at Book 257, Page 463 located in

the Register of Deeds for Swain County, North Carolina, being real

property, together with the residences, and all appurtenances,

improvements, and attachments thereon,” is hereby VACATED.

     IT IS SO ORDERED.

                                     Signed: June 16, 2011




                                     2


      Case 2:10-cr-00014-MR   Document 151    Filed 06/16/11   Page 2 of 2
